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UN|TED STATES OF AMER|CA

 

P|aintifi
VS.
CR. NO. 04-20048-D
DERR|CK THOMPSON
Defendant.

 

ORDER ON CONT|NUANCE AND SPECEFYFNG PER|OD OF EXCLUDABL.E DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date so that the
parties may continue to negotiate a possible plea agreement

The Court granted the request and reset the trial date to October 3, 2005 with a
change of plea/report d_a;g of Thursdav. September QL 2005. at 9:30 a.m., in
Courtroom 3. ch F|oor of the Federal Building, |Vlemphis, TN.

The period from September 16, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy tria|.

lT ls so oRDERED thiseZ¢,;¢/day of september, 2005.

  

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Wm puts ;,= maxim 32(%)) FHCtP O-r‘- ..._..- ----- § 0

Thla document entered on the dool<atéheet in compliance

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:04-CR-20048 Was distributed by faX, mail, or direct printing on
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ENNESSEE

 

Marvin E. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

Memphis7 TN 38103

Kevin G. Ritz

U.S. ATTORNEY'S OFFICE- Memphis
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

